Case 8:23-cv-00902-CEH-TGW Document 11 Filed 05/18/23 Page 1 of 1 PageID 33




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

SANDRA G. THOMPSON,

       Plaintiff,

v.                                                       Case No: 8:23-cv-902-CEH-TGW

ASHWORTH COLLEGE,

      Defendant.
___________________________________/

                                        ORDER

       The Court has been advised by the Notice of Settlement (Doc. 10) that the above-

styled action has been settled. Accordingly, pursuant to Local Rule 3.09(b), M.D.Fla., it

is

       ORDERED AND ADJUDGED that this cause is hereby DISMISSED without

prejudice and subject to the right of the parties, within sixty (60) days of the date of this

order, to submit a stipulated form of final order or judgment should they so choose or for

any party to move to reopen the action, upon good cause shown. After that 60-day period,

however, dismissal shall be with prejudice. Any pending motions are denied as moot and

the Clerk is directed to terminate all deadlines and administratively close the file.

       DONE AND ORDERED in Tampa, Florida on May 18, 2023.




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Counsel of Record
